     .,.
             Case: 2:22-cv-02653-ALM-CMV Doc #: 109-4 Filed: 06/13/24 Page: 1 of 4 PAGEID #: 3417
,I




                      From: Phillip Braithwaite <pbraithwaite@student-resource.org>
                         To: Cecilia Retelle Zywicki <cecilia@student-resource.org>
                        Cc: Aimee Leishure <aleishure@student-resource.org>
                    Subject: RE: Spring enrollment concerns
                       Date: Fri, 28 Oct 2022 14:27:31 +0000
               Importance: Normal
             Inline-Jmages: image00 l .png


           Thanks- besides the personnel issue, which I will leave for you to manage, let's root cause and/or audit how this came
           to be in the first place...this is just putting out wrong info to our students, which is not the student experience any of us
           want that gets potentially compounded by the EGCC legal matter). Are we confide nt this is limited to this single
           employee? Are we aud iting employee-student communications so we know what's being shared is up to date and
           accurate?


           From: Cecilia Retelle Zywicki <cecilia@student-resource.org>
           Sent: Thursday, October 27, 2022 10:50 PM
           To: Phillip Braithwaite <pbraithwaite@student-resource.org>
           Cc: Aimee Leishure <aleishure@student-resource.org>
           Subject: Re: Spring enrollment concerns

           Hello,

           Wanted to give you an update regarding the email directing the student to CSU rather than to EGCC.

           Though she has been given the correct information, Emily Green has sent the same incorrect information via Genesys
           email to at least two students. Carrie reached out to her multiple times today (and earlier this week) without
           acknowledgement or respo nse.

           With her lack of responsiveness, we are concerned that she has turned on an automated message that is sending out
           the email via Genesys. Until she responds to Carri e, we asked Michael to turn off her email in Genesys. (copy of this
           email below) Michael responded immediately and was very helpful.

           In addition, Michael is assisting Carrie with pulling all emails that Emily has sent this week via Genesys. Once we know
           how widespread the issue is we will determine an appropriate next step and communication plan for the impacted
           students.


           As recent as October 12 th , Emily was given a formal verbal warning for not being logged in or responding in a timely
           manner. When I landed in Denver (about 2:00 MT), Carrie looked up her recent logged in time-last Friday she logged
           off at 2:00 without reason. She been unresponsive to multiple slack and email messages this week that included the
           EGCC updates along with other items. Carrie reached out to Wes to figure out how to handle.

           Finally, we scheduled a SSC team meeting for tomorrow morning immediately before our ExTeam call. I will review the
           information that we have sent out this week to ensure there are no outstanding questions or confusion . After that call,
           I should be able to give you an update on the ExTeam call.

           Thank you,
           Cecilia
                                                                                                                      DEFENDANT'S
                                                                                                                        EXHIBIT
           CECILIA RETELLE ZY\-VICKI                                                                                l :t
                                                                                                                          SR~OO0OOG956
,.
          Case: 2:22-cv-02653-ALM-CMV Doc #: 109-4 Filed: 06/13/24 Page: 2 of 4 PAGEID #: 3418


     COO & Crnff <w S rM~

     t <1 I 7) 728-2930
     C<:cilia(r[stud c-111-rc::;1)urcc.(>l".1!.
     ~r~ Timl,                             ....

     J 'm sending this at a time that works.for me.
     Please onfy r eply al a timP. that lVOrks jf'lr yau.




     From: Carrie Schwalm <carrie@student-resource.org>
     Date: Thursday, October 27, 2022 at 2:17 PM
     To: Michael Goldfarb <mgoldfarb@student-resource.org>, Wesley Hudson <whudson@student-resource.org>,
     Cecilia Retelle Zywicki <cecilia@student-resource.org>
     Subject: Emily's email in Genesys

     Hi Michael,

     I need you to turn off Emily Green's email in Genesys until her and I can speak. She has been unresponsive to
     my communications and she is sending out inaccurate information to students this entire week.


     All the best,



     CARRJE SCHWALM



     From: Phillip Braithwaite <Rbraithwaite@student-resource.org>
     Date: Thursday, October 27, 2022 at 11:50 AM
     To: Cecilia Retelle Zywicki <cecilia@student-resource.org>
     Cc: Aimee Leishure <aleishure@student-resource.org>
     Subject: FW: Spring enrollment concerns

     Please see the last sentence of the email in the attachment re: directing a student to CSU.

     Please resea rch this so we can understand the context and how/why this happened ... hoping it's just a one off.


     From: Robert Roeschenthaler <RRoeschenthaler@egcc.edu>
     Sent: Thursday, October 27, 2022 12:47 PM
     To: Phillip Braithwaite <Rbraithwaite@student-resource.org>
     Cc: Christina Wanat <cwanat@egcc.edu>; Michael Geoghegan <MGeoghegan@egcc.edu>
     Subject: Re: Spring enrollment concerns

     Mr. Braithwaite,

     Please let us know when to expect a response from your counsel. Attached is a specific example as requested.



     Thank You,
     Bob Roeschenthaler
     Senior Vice President and Chief Operations Officer
     Eastern Gateway Community College
     Pugliese Center
     110 John Scott Highway
     Steubenville, Ohio 43952
     Phone: (740) 264-5591 Ext.1726




                                                                                                                 SRC...000000957
  Case: 2:22-cv-02653-ALM-CMV Doc #: 109-4 Filed: 06/13/24 Page: 3 of 4 PAGEID #: 3419


rroesche nthaler@ggcc.edu
EGCC.edu
Book an am;iointment with me




                                                - - - - - - -- ----- - - - -- - - - - - - - - - - - -
From: Phillip Braithwaite <Rbraithwaite@student-resource.org>
Date: Thursday, October 27, 2022 at 11:30 AM
To: Robert Roeschenthaler <RRoeschenthaler@ggcc.edu>
Cc: Michael Geoghegan <MGeoghegan@ggcc.edu>, Christina Wanat <cwanat@ggcc.edu>
Subject: RE: Spring enrollment concern s

Bob, we will respond through our counsel. Your claim that SRC is directing students to CSU is false. If you have specific
examples that you can provide, please let me know and we will review and/or correct as appropriate.

PB




From: Robert Roeschenthaler <RRoeschenthaler@egcc.edu>
Sent: Wednesday, October 26, 2022 4:38 PM
To: Phillip Braithwaite <Rbraithwait e@student-resource.org>
Cc: Michael Geoghegan <MGeoghegiill@ggcc.edu>; Christina Wanat <cwanat@egcc.edu >
Subject: Spring enrollment concerns

Mr. Braithwaite,
We are getting feedback from numerous students attempting to register through SRC t hat they are receiving a
notifica tion that "Due to a directive from the Department of Education, enrollment in the Free College Benefit program
is currently paused. We apologize for the inconvenience." As you know this is not true, t his shows why it is import ant
for us to collaborate and have consistent messaging to students seeking to enroll in the prog ram. This needs to be
correctly immediately. Additionally, it seems that students are being directed to Central State rather than EGCC.
During our discussion on Monday, we talked about how to facilitate the enrollment of new students in the Free College
program . As discussed, we need to be able to get new students enrolled as quickly as possible. We asked you to get
back to us on whether we could use the proposed FAQs with EGCC's 1800 number so t hat we could open enrollment to
new students on Tuesday (Oct. 25 th ). We did not hear back from you so we only opened enrollment fo r
returning/continuing students and did not post the new student FAQs on Tuesday.

On Tuesday, we asked you to get back to us by 8am today on how you propose to work together on enrolling new
students, whether there were any issues with the FAQs, forwarding prospective new students to your admissions
counselors and moving your advisors to our appointment program. Again, we did not hear back. Since we cannot
further delay opening up enrollment for new students, we have posted the proposed FAQs with the EGCC 1800 number
this afternoon.

If you have an issue with the plan we discussed Monday and/or th e FAQs, please let us know immediately. If we do not
hear from you, we will assume you do not have an issue with what has been discussed so far. Any new students
enrolling who would traditionally part of the Collaboration w ill be tracked and/or forwarded to your admissions
counselors for intake if requested.




                                                                                                             SR(:_~0006958
  Case: 2:22-cv-02653-ALM-CMV Doc #: 109-4 Filed: 06/13/24 Page: 4 of 4 PAGEID #: 3420


Please also let us know if you are able to reach out to the unions to put the Free College information back on line and
get the websites back up to promote enrollment in the program. We can work with you on appropriate language for
the websites.

Thank You,
Bob Roeschenthaler
Senior Vice President and Chief Operations Officer
Eastern Gateway Community College
Pugliese Center
110 John Scott Highway
Steubenville, Ohio 43952
Phone: (740) 264-5591 Ext.1726
rroeschenthaler@ggcc.edu
EGCC.edu
Book an aRROintment with me




                                                                                                            SRc._0000:00959
